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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                                                                 Case # 18-CR-6094-FPG
v.
                                                                  DECISION AND ORDER
XAVIER TORRES,
                                      Defendant.

                                       INTRODUCTION

        Defendant Xavier Torres is charged with narcotics conspiracy, possession of a firearm in

furtherance of a drug trafficking crime, maintaining a drug-involved premises, two counts of

possession with intent to distribute and/or to distribute cocaine, and three counts of possession

with intent to distribute and/or to distribute heroin.    See ECF No. 240 (third superseding

indictment). On November 11, 2019, Defendant filed an omnibus motion requesting, inter alia,

suppression of various evidence, severance, and dismissal of the indictment. ECF No. 266.

Magistrate Judge Mark W. Pedersen denied Defendant’s requests for severance and to dismiss the

indictment, ECF No. 338, and issued a Report & Recommendation (“R&R”) recommending that

the suppression requests be denied. ECF No. 386. Defendant challenges these rulings. ECF No.

406.

                                     LEGAL STANDARD

        “The standard of review employed by this Court when considering appeals from the

decision of a magistrate judge depends upon whether the challenged order is dispositive or

nondispositive.” New York v. Salazar, No. 08-CV-644, 2011 WL 1938232, at *4 (N.D.N.Y. Mar.

8, 2011). Where the matter is nondispositive, the Court reviews the magistrate judge’s order to

determine whether it is “contrary to law or clearly erroneous.” Fed. R. Crim. P. 59(a); see also 28

U.S.C. § 636(b)(1)(A). “An order is clearly erroneous where a reviewing court is left with the

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definite and firm conviction that a mistake has been committed,” and an order is “deemed contrary

to law if it fails to apply or misapplies relevant statutes, case law or rules of procedure.” Salazar,

2011 WL 1938232, at *4 (internal quotation marks omitted).

        On a dispositive matter—e.g., motions to suppress and to dismiss the indictment—the

magistrate judge may only issue an R&R. 28 U.S.C. § 636(b)(1)(B). A district court reviews

those portions of an R&R to which a party has timely objected de novo. Fed. R. Crim. P. 59(b)(3).

When a party does not object to a portion of an R&R, or when the objections are conclusory,

general, or without legal support, a district court reviews those portions for clear error. See United

States v. Preston, 635 F. Supp. 2d 267, 269 (W.D.N.Y. 2009). After reviewing the R&R and the

objections thereto, a district court “may accept, reject, or modify the recommendation.” Fed. R.

Crim. P. 59(b)(3).

                                          DISCUSSION

        Defendant challenges four of Judge Pedersen’s rulings and recommendations. First, he

argues that Judge Pedersen erred when he declined to hold a suppression hearing pertaining to the

search of a vehicle on February 6, 2016. See ECF No. 406 at 3-9. Second, Defendant argues Judge

Pedersen similarly erred by declining to hold an evidentiary hearing on Miranda issues he raised.

Id. at 9. Third, Defendant requests that his case be severed from those of his co-defendants. Id. at

9-11. Fourth, Defendant argues that the indictment should be dismissed due to pre-indictment

delay. Id. at 11. The Court analyzes each issue in turn.

  I.    Suppression Hearing Related to February 6, 2016 Stop

        In his omnibus motion, Defendant sought suppression of “[a]ll evidence found during the

February 6, 2016 stop.” ECF No. 266 at 6. The police report indicates that, on February 6, 2016,

police officers confronted Defendant in an apartment building in Rochester. ECF No. 266-2 at 3.



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One officer conducted a pat frisk of Defendant, during which he found a car key. The key opened

a vehicle parked nearby, and officers claimed to have found drugs therein. Id. at 3-4.

       Although not originally filed with the omnibus motion, Defendant later supplemented his

suppression request with an affidavit concerning the events of February 6, 2016. He states as

follows:

       I had two contacts with police in July of 2015 and February of 2016. During both
       contacts, any statement I made to the police was not voluntary and was made under
       the stress of the respective situations.

       In both instances, I did not believe that I was free to leave and believe that I was
       under arrest, despite not receiving Miranda warnings.

       On February 6, 2016, I was walking down the street on Burbank Street with Jose
       Rodriguez, and another male. Jose and I entered 2 Burbank Street where I intended
       to visit with one of the tenants in this apartment building. I was pulled out of the
       hallway by law enforcement, searched where they acquired a sum of cash off of
       me, and placed in handcuffs. A key was found on the ground and law enforcement
       searched that vehicle.

       I was brought to the police station in Upper Falls and was questioned by law
       enforcement.

       The state charges associated with the February 6, 2016 stop were no billed by the
       grand jury.

ECF No. 323 at 1-2.

       Unlike the police report—in which police claimed to have found the car key on

Defendant’s person—in his affidavit Defendant alleges that the key was found on the ground, and

he does not claim any ownership or possessory right to the searched vehicle or the car key. In light

of Defendant’s assertions, Judge Pedersen concluded that Defendant had failed to establish

standing to challenge the seizure of the key or the search of the vehicle. ECF No. 386 at 4-5.




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         In his objection, Defendant argues that officers unlawfully detained him “beyond the

parameters of any possible Terry stop” and that Judge Pedersen erroneously “failed to address the

basis for the initial stop and whether it was lawful or not.” ECF No. 406 at 3-4.

         The Court is not persuaded. “As the party moving to suppress, defendant bears the burden

of establishing his standing”—i.e., that he “had a legitimate expectation of privacy that was

violated by the Government’s conduct.” United States v. Loera, 333 F. Supp. 3d 172, 179

(E.D.N.Y. 2018) (internal quotation marks and brackets omitted). “This burden is met only by

sworn evidence, in the form of affidavit or testimony, from the defendant or someone with personal

knowledge.” Id. (internal quotation marks omitted). The defendant cannot rely on the allegations

in a police report to establish standing. See United States v. Matthews, No. 19-CR-178, 2020 WL

2770817, at *1 (W.D.N.Y. Apr. 21, 2020) (“[D]efendants cannot rely on the government’s position

or theory to establish standing and must instead prove their expectation of privacy as to a particular

search.”).

         In his affidavit, Defendant did not claim to have any interest or expectation of privacy in

the car key or the search vehicle. To the contrary, he appears to disclaim any interest in those

items, stating that the key was found not on his person but on the ground. Based on the state of

the record and Defendant’s affidavit, Judge Pedersen rightly concluded that Defendant had failed

to establish standing to challenge the seizure of the key or the search of the vehicle. Therefore, a

suppression hearing was not warranted. 1 See United States v. Quinones, No. 05-CR-15E, 2005


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  To the extent Defendant is claiming that the allegedly unlawful pat frisk led to the discovery of the key—and thus
constitutes the fruit of the poisonous tree—he has not sufficiently developed this theory to justify relief. According
to Defendant’s affidavit, officers frisked him without cause and then, separate and apart from that search, found a key
on the ground and searched the vehicle. See ECF No. 323 at 1; ECF No. 406 at 7. Defendant has not articulated a
sufficient causal connection between the pat frisk and the discovery of the key to warrant a hearing, let alone
suppression. See United States v. O’Brien, 498 F. Supp. 2d 520, 540 (N.D.N.Y. 2007) (“Suppression . . . is not
required if . . . the causal link between the illegal conduct and the evidence is attenuated”); see also United States v.
Zannino, 895 F.2d 1, 17 (1st Cir. 1990) (“It is not enough merely to mention a possible argument in the most skeletal
way, leaving the court to do counsel’s work, create the ossature for the argument, and put flesh on its bones.”).

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WL 2148333, at *3 (W.D.N.Y. May 24, 2005) (“[A]n affidavit by a defendant which does not

sufficiently demonstrate ownership of the car or license from the owner to possess it does not

establish standing or require an evidentiary hearing.”).

 II.    Evidentiary Hearing on Miranda Issues

        In his omnibus motion, Defendant requested suppression of “[a]ny and all statements prior

to [his] formal arrest on February 6, 2016” because he was “not properly advised of his rights

under Miranda.” ECF No. 266 at 9.       Defendant also sought to suppress statements he made to

law enforcement during “the July 30, 2015 search” and “his December 2018 arrest.” Id. at 10. As

discussed above, in his affidavit Defendant makes several allegations related to statements he made

to police. He states he “had two contacts with police in July of 2015 and February of 2016”; that

“any statement” he made “was not voluntary” and “was made under the stress of the respective

situations”; and that he “did not believe that [he] was free to leave” and did not receive Miranda

warnings. ECF No. 323 at 1. Judge Pedersen concluded that Defendant’s claims were too vague

to warrant a hearing, and he recommended that Defendant’s suppression request be denied. ECF

No. 386 at 8-9.

        Defendant now contends that his affidavit was sufficient to justify a hearing on the Miranda

issues. The Court disagrees.

        “A statement made by the accused during a custodial interrogation is inadmissible at trial

unless the prosecution can establish that the accused in fact knowingly and voluntarily waived [his

Miranda] rights when making the statement.” United States v. Taylor, 745 F.3d 15, 23 (2d Cir.

2014) (internal quotation marks omitted). “By custodial interrogation,” courts mean “questioning

initiated by law enforcement officers after a person has been taken into custody.” United States v.




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Familetti, 878 F.3d 53, 57 (2d Cir. 2017). “A person must both be ‘in custody’ and subject to

‘interrogation’ for Miranda safeguards to apply.” Id.

       A court need only hold an evidentiary hearing on a Miranda issue “if the moving papers

are sufficiently definite, specific, detailed, and nonconjectural to enable the court to conclude that

contested issues of fact . . . are in question.” United States v. Perryman, No. 12-CR-123, 2013

WL 4039374, at *6 (E.D.N.Y. Aug. 7, 2013); see also United States v. Cook, 348 F. Supp. 2d 22,

28 (S.D.N.Y. 2004) (“[A] [d]efendant must do more than make the ‘bald assertion’ of impropriety

. . . in order to sustain a request for a suppression hearing.”). Put differently, a party “seeking to

raise a factual issue to be determined at a hearing must submit admissible evidence which, if

credited, would make out a prima facie case on the issue.” United States v. Ahmad, 992 F. Supp.

682, 685 (S.D.N.Y. 1998). “This in turn requires that the issue ordinarily be raised by an affidavit

of a person with personal knowledge of the facts.” Id.

       In United States v, Mathurin, 148 F.3d 68 (2d Cir. 1998), the Second Circuit clarified this

standard in the context of a motion to suppress due to an alleged Miranda violation. In that case,

the defendant sought to suppress certain post-arrest statements he made to officers. The Second

Circuit held that, where the issue is simply whether Miranda warnings were given or not, a

defendant’s averment that he was “never given [his] Miranda warnings” is sufficient to warrant a

hearing. Mathurin, 148 F.3d at 70. The Second Circuit noted that “although the assertion that

warnings were not given is conclusory, any statement that a specific event did not occur will

normally be conclusory, since it is ordinarily impossible to state all of the facts that show that an

event never occurred.” Id. at 69 (internal citation omitted). By contrast, “[t]here are . . . other

grounds for suppression that depend not on the occurrence of discrete observable acts but on the

characterization of a set of circumstances, such as the existence of probable cause for arrest or the



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voluntariness of a statement, as to which a conclusory statement is not sufficient to require a

hearing.” Id. In those circumstances, if the defendant fails to specify the factual basis for his

characterization of the events, “the district court is not required to have a hearing.” Id.

       In this case, Judge Pedersen correctly concluded that no hearing was warranted on

Defendant’s claims that his Miranda rights were violated in July 2015 and December 2018.

Defendant’s affidavit references the July 2015 police “contact” in only the most vague, conclusory

terms, and it does not even reference Defendant’s December 2018 arrest. There are simply no

factual details to support a claim that Defendant was in custody and was subjected to interrogation

such that Miranda applied: he does not even minimally describe the questions that officers asked,

the statements that he made, or the circumstances of the encounters. See United States v. Hester,

No. 19-CR-324, 2020 WL 3483702, at *11 (S.D.N.Y. June 26, 2020) (no suppression hearing

necessary on Miranda issue where defendant did not “indicate what statements he contends are at

issue or what questions were asked,” and did not “offer an affirmation of any individual with

personal knowledge of what transpired during” the encounter).        Furthermore, because the issue

of custodial interrogation depends on the characterization of a set of circumstances, it is the sort

of issue that requires more than conclusory assertions. See Mathurin, 148 F.3d at 69. As to the

July 2015 and December 2018 police encounters, Defendant’s affidavit did not justify a

suppression hearing.

       Defendant’s affidavit does provide more factual allegations with respect to the encounter

with police on February 6, 2016. See ECF No. 323 at 1. Still, neither Defendant’s affidavit nor

his motion papers were sufficiently “definite” or “specific” to enable Judge Pedersen to conclude

that there were contested issues warranting an evidentiary hearing. Most noticeably, Defendant

failed to identify what statements he contends were elicited in violation of Miranda. Even in his



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brief to this Court, Defendant does not identify what specific statements he seeks to suppress. That

is obviously the fundamental prerequisite for a claim for suppression under Miranda. Defendant’s

vague allusions to “statements allegedly made by the defendant to law enforcement” fail to meet

this decidedly minimal burden. ECF No. 266 at 1. Such specificity is necessary because it is only

when the relevant statements have been identified that a court can then determine if there are issues

of fact concerning whether the statements were made during custodial interrogation, and, therefore,

whether an evidentiary hearing is necessary. Indeed, had Defendant given some notice of what

exactly he contested, it might be that the government would not dispute the relevant facts or would

decline to introduce the statements at trial, obviating the need for a hearing.

        Therefore, the Court agrees that no evidentiary hearing is warranted based on Defendant’s

affidavit.

III.    Motion to Sever

        As previously noted, Defendant is charged with several offenses arising from his alleged

involvement in a narcotics conspiracy from 2015 to January 2018. See generally ECF No. 240.

One of his alleged co-conspirators, Obed Torres Garcia, is charged with attempting to kill federal

agents in January 2018 in furtherance of that conspiracy. Two other co-conspirators, Carlos Javier

Figueroa and Jonathan Cruz-Carmona, are charged with the murder of an individual in September

2016, also in furtherance of the conspiracy. Id. at 6-7.

        In his omnibus motion, Defendant argues that these charges—in which he is not alleged to

be directly involved—create an “obvious” risk of spillover prejudice. ECF No. 271 at 38. He

therefore requests that the Court sever the violent charges or the other co-defendants so as to

ameliorate the prejudice. Judge Pedersen denied Defendant’s request.




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       “Rule 14(a) grants the court discretion to sever the trials of codefendants where they have

been indicted together properly under Rule 8(b), but joinder nonetheless ‘appears to prejudice a

defendant or the government.’” United States v. Forde, 699 F. Supp. 2d 637, 640 (S.D.N.Y. 2010).

“A defendant seeking severance pursuant to Rule 14(a) must overcome the strong presumption in

favor of trying jointly indicted defendants together.” Id. at 640-41; see also United States v.

Weaver, No. 13-CR-120, 2014 WL 173480, at *1 (E.D.N.Y. Jan. 10, 2014).

       “In evaluating a defendant’s Rule 14(a) motion, courts must consider that separate trials of

jointly indicted defendants could impair both the efficiency and the fairness of the criminal justice

system by requiring that prosecutors bring separate proceedings, presenting the same evidence

again and again, requiring victims and witnesses to repeat the inconvenience (and sometimes

trauma) of testifying.” Forde, 699 F. Supp. 2d at 641 (quotation omitted). Furthermore, “jointly

trying [co-]defendants serves the interests of justice by avoiding the scandal and inequity of

inconsistent verdicts.” Id. (internal quotation marks and brackets omitted).

       A motion for severance should only be granted if “there is a serious risk that a joint trial

would compromise a specific trial right of one of the defendants, or prevent the jury from making

a reliable judgment about guilt or innocence.” Weaver, 2014 WL 173480, at *1 (quoting Zafiro v.

United States, 506 U.S. 534, 539 (1993)). Factors include “the number of defendants and the

number of counts; the complexity of the indictment; the estimated length of the trial; disparities in

the amount or type of proof offered against the defendants; disparities in the degrees of

involvement by defendants in the overall scheme; possible conflict between various defense

theories or trial strategies; and, especially, prejudice from evidence admitted only against co-

defendants but which is inadmissible or excluded as to a particular defendant.” United States v.

Locascio, 357 F. Supp. 2d 536, 543 (E.D.N.Y. 2004). Ultimately, however, “Rule 14 leaves the



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determination of risk of prejudice and any remedy that may be necessary to the sound discretion

of the district courts.” Zafiro, 506 U.S. at 541.

       The Court agrees with Judge Pedersen that severance is not appropriate in these

circumstances. Under Count 1 of the third superseding indictment, Defendant is alleged to have

been involved in a narcotics conspiracy from 2015 through January 29, 2018. It is alleged that

during and in furtherance of that conspiracy, two of Defendant’s co-conspirators murdered a rival

drug dealer in 2016 (Count 9), while another shot at and attempted to kill federal agents executing

a search warrant at a house used by the conspirators (Counts 6 and 7). See ECF No. 1 at 28; ECF

240 at 4-5, 6-7; ECF No. 389 at 3-4. Although Defendant is not alleged to have been directly

involved in either of these acts, they are acts that were allegedly performed during and in

furtherance of the conspiracy.

       For that reason, these violent acts do not give rise to the sort of prejudice that justifies

severance. Spillover prejudice “occurs in joint trials when proof inadmissible against a defendant

becomes a part of his trial solely due to the presence of co-defendants as to whom its admission is

proper.” United States v. Mahaffy, 446 F. Supp. 2d 115, 121 (E.D.N.Y. 2006) (emphasis added).

By contrast, even though Defendant was not directly involved in them, the violent acts would be

admissible against Defendant because he was part of the conspiracy when they were committed,

and “all the evidence admitted to prove [a] conspiracy, even evidence relating to acts committed

by co-defendants, is admissible against the defendant.” United States v. Salameh, 152 F.3d 88,

111 (2d Cir. 1998); see also United States v. Villegas, 899 F.2d 1324, 1347 (2d Cir. 1990) (“Since

each of these four defendants was charged with being a member of the cocaine manufacturing

conspiracy and there was sufficient evidence to connect each with the conspiracy, all of the

evidence as to each of the other defendants’ acts in furtherance of the conspiracy was admissible



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against each of them.”). Thus, there is little risk of spillover prejudice. See United States v. Larson,

No. 07-CR-304, 2012 WL 124853, at *2 (W.D.N.Y. Jan. 17, 2012) (“[C]laims of prejudicial

spillover rarely succeed . . . in the context of conspiracy cases because the evidence could be

admitted in the separate trials.”). In addition, the mere fact that there may be differing “levels of

culpability and proof” as between Defendant and his co-conspirators is insufficient to justify

severance; such differences “are inevitable in any multi-defendant trial.” United States v. Spinelli,

352 F.3d 48, 55 (2d Cir. 2003). Finally, even if there were some risk of prejudice, Defendant

offers no reason why a limiting instruction would be insufficient to cure any undue prejudice. See

United States v. Estevez Gonzalez, No. 19-CR-123, 2020 WL 1809293, at *5 (S.D.N.Y. Apr. 9,

2020) (“Courts presume that jurors obey limiting instructions.”).

        Therefore, the Court agrees with Judge Pedersen that severance is not warranted. 2

IV.     Dismissal of Indictment

        Defendant requests that the indictment be dismissed due to pre-indictment delay, which

“resulted in the lost [sic] of contacts with witnesses who would be helpful to [his] defense.” ECF

No. 406 at 11.

        Pre-indictment delay “may amount to a due process violation” in “certain limited

circumstances,” but the defendant “carries a heavy burden of showing,” inter alia, that the delay

“actually prejudiced his ability to defend himself at trial.” United States v. Brown, No. 18-CR-

6119, 2020 WL 2602082, at *7 (W.D.N.Y. May 22, 2020) (internal quotation marks omitted).

“The proof of the prejudice must be definite and not speculative, and the defendant must



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 In passing, Defendant states that it is “unclear whether any statements offered by the government at the trial from
co-defendants will implicate confrontation and Bruton concerns.” ECF No. 406 at 10. That undeveloped and
speculative argument does not entitle Defendant to relief. See United States v. Hawit, No. 15-CR-252, 2017 WL
2271352, at *9 (E.D.N.Y. May 22, 2017) (rejecting motion for severance based on Bruton concerns where defendant
did not identify “a single out-of-court statement made by a [d]efendant that implicates another [d]efendant in the
charged crimes or any other criminal activity”).

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demonstrate specifically how the loss of evidence is prejudicial.” Id. (internal quotation marks

omitted).

       Here, in none of Defendant’s papers does he specifically identify which witnesses he has

had difficulty locating or describe the evidentiary value of their testimony. He merely alleges,

without elaboration, that the pre-indictment delay “has resulted in difficulty in locating or

producing witnesses in support of the defendant’s case.” ECF No. 271 at 36; see also ECF No.

266 at 37; ECF No. 406 at 11. That sort of conclusory allegation is insufficient to meet Defendant’s

heavy burden. See Brown, 2020 WL 2602082, at *7 (denying motion to dismiss due to pre-

indictment delay where defendant merely alleged that “unspecified witnesses” were “unavailable”

but did not demonstrate their testimony would aid his defense). Judge Pedersen correctly denied

Defendant’s request to dismiss the indictment.

                                         CONCLUSION

       For the foregoing reasons, the Court ADOPTS Judge Pedersen’s R&R (ECF No. 386) in

all respects, and AFFIRMS his rulings on severance and dismissal of the indictment (ECF No.

338). Defendant’s omnibus motion (ECF No. 266), as it pertains to those issues, is DENIED.

       IT IS SO ORDERED.

Dated: July 22, 2020
       Rochester, New York

                                              ______________________________________
                                              HON. FRANK P. GERACI, JR.
                                              Chief Judge
                                              United States District Court




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